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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 18-23854-CIV-MARTINEZ/AOR

CESAR PINEDA, individually and on behalf
of a class of others similarly situated,
Plaintiff,
Vv.

TELECLARO, LLC,

Defendant.

 

ORDER
THIS CAUSE came before the Court upon Plaintiff Cesar Pineda’s (‘‘Plaintiff’) Notice of Hearing
[D.E. 36]. This matter was referred to the undersigned pursuant to 28 U.S.C. § 636 by the Honorable Jose
E. Martinez, United States District Judge [D.E. 24]. The undersigned held a hearing on this matter on
September 6, 2019. In accordance with the undersigned’s rulings at the hearing, it is
ORDERED AND ADJUDGED as follows:
1. Defendant’s responses to Plaintiff's Request for Admissions are deemed timely filed albeit
they were one day late;
2. Defendant has until close of business on Friday, September 13, 2019, to fully respond,
without objections, to Plaintiffs Interrogatories and Request for Production; and
3. The undersigned will hold Plaintiffs request for attorney’s fees and costs associated with
this hearing in abeyance and admonishes Defendant that failure to respond to Plaintiff's
outstanding discovery as directed above will result in the imposition of attorney’s fees and

costs as a sanction.
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DONE AND ORDERED in Chambers at Miami, Florida, this Cay of September, 2019.

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ALICIA M. OTAZO-REYE&”
UNITED STATES MAGISTRATE JUDGE

ce: United States District Judge Jose E. Martinez
Counsel of Record
